Case 6:22-cv-01130-DCJ-CBW Document 214 Filed 12/22/23 Page 1 of 3 PageID #: 8679




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION


                                                )
   The STATE of ARIZONA, et al.,                )
                                                )
         Plaintiffs,                            )
                                                )
         v.                                     )       Civil Action No. 6:22-cv-01130
                                                )
   MERRICK GARLAND,                             )
   in his official capacity as                  )
   Attorney General of the                      )
   United States, et al.,                       )
                                                )
         Defendants.                            )
                                                )




                       MOTION TO DISMISS FOR LACK OF JURISDICTION
                             AND FAILURE TO STATE A CLAIM




         Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants hereby

  move to dismiss Plaintiffs’ Second Amended Complaint, ECF No. 86, for lack of jurisdiction and

  failure to state a claim upon which relief may be granted for all the reasons stated in the attached

  Memorandum in Support and all exhibits referenced in and attached hereto.




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Case 6:22-cv-01130-DCJ-CBW Document 214 Filed 12/22/23 Page 2 of 3 PageID #: 8680




        Dated: December 22, 2023     Respectfully submitted,

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                                     Principal Deputy Assistant Attorney General

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                                     /s/ Joseph A. Darrow
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                                        2
Case 6:22-cv-01130-DCJ-CBW Document 214 Filed 12/22/23 Page 3 of 3 PageID #: 8681




                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 22, 2023, I electronically filed this motion to dismiss

  with the Clerk of the Court for the United States District Court for the Western District of

  Louisiana by using the CM/ECF system. Counsel in the case are registered CM/ECF users and

  service will be accomplished by the CM/ECF system.

                                              /s/ Joseph A. Darrow
                                              JOSEPH A. DARROW
                                              U.S. Department of Justice




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